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 Troutman Pepper Hamilton Sanders LLP
 875 Third Avenue
 New York, New York 10022

 troutman.com



 Avi Schick
 avi.schick@troutman.com




 February 7, 2021
 VIA ECF

 The Honorable Kiyo A. Matsumoto
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:     Agudath Israel of America, et al. v. Andrew M. Cuomo, No. 1:20-cv-4834 (E.D.N.Y.)

 Dear Judge Matsumoto:

          Plaintiffs respectfully submit this letter in advance of tomorrow’s status conference in an
 effort to help focus on the few areas of disagreement regarding the preliminary injunction order.

         1. Defendant’s February 5 letter requests that the Court delete the sentence that Defendant
            does not contend that the 25% and 33% capacity limits on houses of worship in Executive
            Order 202.68 are narrowly tailored, and cannot satisfy strict scrutiny. Yet in three separate
            letters o this Court last week, Defendant wrote to make that very point:

            On February 2, Defendant wrote that “In light of the decisions made in this case
             by this Court and the appellate courts that have considered it, Defendant Cuomo
             does not oppose the entry of a preliminary injunction . . . . Defendant believes
             that his stated position herein obviates the need for the February 8, 2021
             hearing.” Dkt. 31 at 1. The purpose of the February 8 preliminary injunction
             hearing was, as the Second Circuit directed, to determine “whether the 25% and
             33% capacity limits can satisfy strict scrutiny.” Dkt. 26 at 4.

            On February 4, 2021, Defendant wrote that “In light of the rulings in this case
             by the U.S. Supreme Court and the Second Circuit, specifically, the finding that
             ‘both the fixed capacity and the percentage capacity limits on houses of
             worship’ in the red and orange zones ‘are subject to strict scrutiny,’ Defendant
             consents to the issuance of a preliminary injunction.” Dkt. 34 at 1 (quoting
             Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 632 (2d Cir. 2020)). “Defendant
             respectfully submits that an evidentiary is unnecessary.” Of course, the hearing
             was to determine “whether the 25% and 33% capacity limits can satisfy strict
             scrutiny.” Dkt. 26 at 4
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           On February 5, Defendant wrote to advise the Court that he “has made clear
            that he does not dispute the issue of whether the 25% and 33% capacity limits
            as developed for EO 202.68 are narrowly tailored.” Dkt. 38 at 1.

         Defendant also failed to submit the required pre-hearing memorandum setting forth its
 position regarding the issues to be decided at the February 8 hearing. In sum, it is entirely accurate
 that Defendant has never contended that the 25% and 33% capacity limits imposed on houses of
 worship by Executive Order 202.68 are narrowly tailored and satisfy strict scrutiny.

         In its February 2 minute order denying Defendant’s motion to cancel the preliminary
 injunction hearing, the Court requested that the parties provide “the specific reasons and findings
 justifying the injunction.” The reason this Court should enjoin enforcement of the Order’s 25%
 and 33% capacity limits is because Defendant does not contend that these limits are narrowly
 tailored—the very issue remanded by the Second Circuit for decision.

        2. If Defendant’s concessions were not clear enough, this Court can also issue the
           preliminary injunction based on the uncontested evidence submitted by Plaintiffs,
           including the Declaration of Dr. Timothy P. Flanigan, M.D., a leading COVID-19
           research and treatment expert. Dr. Flanigan analyzed the Centers for Disease Control
           and Prevention COVID-19 guidance for houses of worship and concluded:

            “There is no public health rationale for treating houses of worship differently
            from these favored secular activities [under the Order], many of which involve
            gatherings of individuals in enclosed spaces, often for significant periods of
            time.” (¶ 51) That is because “a virus does not behave differently simply
            because individuals are in a room for religious worship rather than to conduct
            business or to shop. (¶ 4) “The safety measures the State imposes and deems
            sufficient for these settings, such as social distancing, face coverings, and hand
            hygiene, can and should be applied to houses of worship as the least restrictive
            means to preventing COVID-19 transmission.” (¶ 4)

            3. Defendant’s February 5 letter also requests the addition of language to the proposed
            Order. Plaintiffs oppose those additions, which were not present in the Court’s January
            19, 2021 Order granting a preliminary injunction against Executive Order 202.68’s 10
            and 25 person limits. In particular, Defendant seeks the ability to unilaterally and at
            will terminate this Court’s preliminary injunction, regardless of any other restriction
            that he might simultaneously impose. That is contrary to the purpose of a preliminary
            injunction, which protects Plaintiffs’ rights to be free of unconstitutional restrictions
            pending final judgment, and flies in the face of the Supreme Court’s admonition in this
            very case that “there is no reason why [Plaintiffs] should bear the risk of suffering
            further irreparable harm in the event of another reclassification.” The Roman Catholic
            Diocese of Brooklyn, N.Y. v. Cuomo, 141 S. Ct. 63, 68–69 (2020) (per curiam).
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            If Defendant issues a revised executive order, he can argue to this Court at that time
            that the preliminary injunction is no longer necessary. But until final judgment or
            Defendant makes that showing, the preliminary injunction should remain in place.

 Plaintiffs look forward to the Court’s resolution of these few issues at tomorrow morning’s status
 conference so that the preliminary injunction can be entered.

                                                     Respectfully,




                                                     Avi Schick

 Cc: Counsel for Defendant (via ECF)
